










TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN




NO. 03-05-00325-CR
NO. 03-05-00326-CR




Trina Gosnell, Appellant

&amp;

John Charles Gosnell II, Appellant

v.

The State of Texas, Appellee





FROM THE DISTRICT COURT OF HAYS COUNTY, 22ND JUDICIAL DISTRICT
NOS. CR-03-264 &amp; CR-03-265, HONORABLE RONALD G. CARR, JUDGE PRESIDING




M E M O R A N D U M   O P I N I O N
&nbsp;
Appellants’ brief in these companion cases was due October 12, 2005.  Appellants’
retained attorney, Mr. W. Paul Parash, did not respond to this Court’s notice that the brief is overdue.
The appeals are abated.  The district court is ordered to conduct a hearing to
determine whether appellants desire to prosecute these appeals and if so, whether counsel has
abandoned the appeals.  Tex. R. App. P. 38.8(b)(2).  The court shall make appropriate findings and
recommendations.  If appellants desire to prosecute the appeals but are now indigent, the court shall
appoint substitute counsel who will effectively represent them on appeal.  A record from this
hearing, including copies of all findings and orders and a transcription of the court reporter’s notes,
shall be forwarded to the Clerk of this Court for filing as a supplemental record no later than
December 30, 2005.  Rule 38.8(b)(3).
&nbsp;
&nbsp;
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;__________________________________________
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;G. Alan Waldrop, Justice
Before Chief Justice Law, Justices Pemberton and Waldrop
Filed:   December 2, 2005
Do Not Publish


